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 6

 7                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
 8
                                                           Case No. 3:19-cv-04905
 9

10                                                         COMPLAINT FOR DAMAGES
      GILBERT CASTILLO JR.,
11                                                         1. VIOLATION OF THE TELEPHONE
                         Plaintiff,
                                                           CONSUMER     PROTECTION      ACT
12                                                         PURSUANT TO 47 U.S.C. § 227.
             v.
13
      J.P. MORGAN CHASE BANK, N.A.,
14                                                         JURY TRIAL DEMANDED
                         Defendant.
15
                                              COMPLAINT
16
            NOW COMES, GILBERT CASTILLO JR. (“Plaintiff”), by and through his counsel,
17

18   Nicholas M. Wajda, and asserts the following claims against J.P. MORGAN CHASE BANK, N.A.

19   (“Defendant”), as follows:
20                                         Nature of the Action
21
            1.      Plaintiff brings this action seeking redress for violations of the Telephone Consumer
22
     Protection Act (“TCPA”) pursuant to 47 U.S.C. §227.
23
            2.      The TCPA makes it unlawful for a person to call another person’s cellular telephone
24

25   using an “automatic telephone dialing system” or “artificial or prerecorded voice” without the

26   express consent of the person being called. 47 U.S.C. § 227(b)(1)(A)(iii).

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 1           3.     The TCPA defines ATDS as “equipment which has the capacity...to store or produce
 2   telephone numbers to be called, using a random or sequential number generator; and to dial such
 3
     numbers.” 47 U.S.C. §227(a)(1).
 4
             4.     As discussed below, Defendant violated the TCPA by repeatedly calling Plaintiff’s
 5
     cellular telephone number with an ATDS without Plaintiff’s consent and after Plaintiff told
 6

 7   representatives of Defendant on numerous occasions to stop calling him.

 8                                    Parties, Jurisdiction and Venue

 9           5.     Plaintiff is a natural person over 18-years-of-age who is a “person” as the term is
10
     defined by 47 U.S.C. §153(39).
11
             6.     Defendant is a foreign corporation formed under the laws of the State of Delaware,
12
     and has a principal place of business located at 270 Park Avenue, New York, New York 10017.
13
     Defendant provides various banking and other financial services to consumers nationwide.
14

15           7.     Defendant regularly conducts business with consumers in California, including

16   Plaintiff.
17           8.     Defendant is a “person” as defined by 47 U.S.C. §153(39).
18
             9.     Defendant acted through its agents, vendor, third-party contractors, employees,
19
     officers, members, directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
20
     representatives and insurers at all time relevant to the instant action. This Court has subject matter
21

22   jurisdiction pursuant to 28 U.S.C. § 1331.

23           10.    Subject matter jurisdiction is conferred upon this Court by the TCPA and 28 U.S.C.

24   §§1331 and 1337, as the action arises under the laws of the United States.
25           11.     Venue is proper in this Court pursuant to 28 U.S.C. §1391 as Defendant conducts
26
     business in the Northern District of California, Plaintiff resides in the Northern District of
27

28
                                                        2
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 1   California, and a substantial portion of the events or omissions giving rise to the claims occurred
 2   within the Northern District of California.
 3
                                      Facts Supporting Cause of Action
 4
               12.   Prior to conduct giving rise to Plaintiff’s claims, Plaintiff obtained a line of credit
 5
     for a credit card, which was issued through Defendant.
 6

 7             13.   Plaintiff used the credit card for personal and family expenses and incurred charges

 8   that were owed to Defendant.

 9             14.   After experiencing financial hardship, Plaintiff was unable to reimburse Defendant
10
     for the charges incurred, and this resulted in him incurring an amount of indebtedness (the “subject
11
     debt”).
12
               15.   At all times relevant to the instant action, Plaintiff was the sole subscriber, owner,
13
     and operator of the cellular phone number (925) 595-8287.
14

15             16.   Plaintiff paid for the cellular phone and pays for his phone’s cellular services, and

16   did so during the time period of the calls in question.
17             17.   In or around March 2017, at random times during this day, Plaintiff began receiving
18
     frequent and persistent calls to his cellular phone from Defendant.
19
               18.   Defendant has used a variety of phone numbers and area codes when placing calls
20
     to Plaintiff’s cellular phone.
21

22             19.   The phone number that Defendant most often used to contact Plaintiff was (847)

23   426-9203, but upon information and belief, it may have used other phone numbers to place calls to

24   Plaintiff’s cellular phone.
25             20.   When Plaintiff answered Defendant’s calls, in almost every instance he experienced
26
     a noticeable pause, lasting approximately three seconds in length, before a live representative began
27
     to speak.
28
                                                         3
        Case 4:19-cv-04905-HSG Document 1 Filed 08/15/19 Page 4 of 9



 1          21.      Additionally, when Plaintiff answered Defendant’s calls, in almost every instance
 2   he heard what sounded to be call center noise in the background of Defendant’s collection calls.
 3
            22.      During many calls that Plaintiff answered, he had to ask words like “Hello? Hello?
 4
     Hello?” several times before a person (an “account representative”) would respond.
 5
            23.      During many calls that Plaintiff answered, there were a few seconds of silence
 6

 7   before the call center noise could be heard, followed by an account representative responding to

 8   Plaintiff asking “Hello? Hello? Hello?”

 9          24.      When a call representative on the other end of an answered call spoke to Plaintiff,
10
     the account representative told Plaintiff that he or she was calling on behalf of Defendant in an
11
     attempt to collect a debt, and presumably, the subject debt.
12
            25.      During several phone conversations with various account representatives, Plaintiff
13
     told the account representatives that he was aware of subject debt.
14

15          26.      During several phone conversations with various account representatives, Plaintiff

16   told the account representatives to stop calling him.
17          27.      Despite Plaintiff telling numerous account representatives to stop calling him,
18
     Defendant continued to call Plaintiff’s cellular telephone, and did so in an attempt to collect the
19
     subject debt.
20
            28.      Plaintiff has received numerous phone calls from Defendant since he first demanded
21

22   that Defendant stop calling.

23          29.      Defendant has intentionally harassed and abused Plaintiff by calling him after he

24   told Defendant on numerous occasions to stop calling him.
25          30.      Defendant has called Plaintiff no less than 34 times in an attempt to collect the
26
     subject debt:
27
            31.      March 22, 2017.
28
                                                       4
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 1      32.   April 1, 2017, at 8:44 AM.
 2      33.   April 1, 2017, at 9:56 AM.
 3
        34.   April 1, 2017, at 11:16 AM.
 4
        35.   April 3, 2017.
 5
        36.   April 5, 2017, at 10:57 AM.
 6

 7      37.   April 5, 2017, at 12.21 PM.

 8      38.   April 6, 2017, at 8:38 AM.

 9      39.   April 6, 2017, at 9:54 AM.
10
        40.   April 6, 2017, at 1:35 PM.
11
        41.   April 7, 2017, at 8:39 AM.
12
        42.   April 7, 2017, at 9:49 AM.
13
        43.   April 7, 2017, at 10:52 AM.
14

15      44.   April 11, 2017, at 10:36 AM.

16      45.   April 11, 2017, at 11:48 AM.
17      46.   April 12, 2017, at 8:33 AM.
18
        47.   April 12, 2017, at 9:49 AM.
19
        48.   April 12, 2017, at 11:08 AM.
20
        49.   April 17, 2017, at 8:58 AM.
21

22      50.   April 17, 2017, at 10:26 AM.

23      51.   April 17, 2017, at 1:47 PM.

24      52.   April 18, 2017, at 8:39 AM.
25      53.   April 18, 2017, at 9:56 AM.
26
        54.   April 18, 2017, at 11:40 AM.
27
        55.   April 19, 2017, at 9:19 AM.
28
                                             5
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 1          56.     April 19, 2017, at 10:27 AM.
 2          57.     April 19, 2017, at 12:42 PM.
 3
            58.     April 20, 2017, at 11:07 AM.
 4
            59.     April 20, 2017, at 12:11 AM.
 5
            60.     April 20, 2017, at 6:15 AM.
 6

 7          61.     April 24, 2017, at 10:37 AM.

 8          62.     April 24, 2017, at 11:51 AM.

 9          63.     April 24, 2017, at 1:35 PM.
10
            64.     May 1, 2017.
11
            65.     The frequency of Defendant’s continued calls constitutes harassment.
12
            66.     On certain days identified above, Defendant called Plaintiff up to four times, and at
13
     times, follow up calls on the same day were made less than an hour after a prior placed call.
14

15          67.     In addition to the facts set forth above in Paragraphs 18 through 23, upon

16   information and belief, Defendant placed the subject calls to Plaintiff’s cellular telephone using an
17   “automated telephone dialing system” (“ATDS”) as this term is defined by the TCPA.
18
            68.     Plaintiff reasonably and plausibly believes that Defendant utilized an ATDS to call
19
     him because ATDS based call systems are commonly used in the debt collection industry to collect
20
     defaulted loans.
21

22          69.     Further, Plaintiff reasonably and plausibly believes that Defendant utilized an ATDS

23   to call him because he never provided his telephone number to Defendant, and in order to obtain

24   Plaintiff’s cellular number, Defendant was required to obtain and/or dial his cellular number
25   through the use of a random or sequential number generator.
26
            70.     Defendant’s unfair and harassing conduct has severely disrupted Plaintiff’s daily
27
     life and general well-being.
28
                                                       6
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 1           71.     As a result of Defendant’s unconscionable conduct Plaintiff has expended time
 2   researching his rights, consulting with potential attorneys, and eventually discussing his case with
 3
     his retained attorneys.
 4
             72.     Defendant’s phone harassment campaign and illegal collection activities have
 5
     caused Plaintiff actual harm, including but not limited to, invasion of privacy, nuisance and
 6

 7   intrusion upon seclusion.

 8           73.     Defendant’s phone harassment campaign and illegal collection activities have also

 9   caused Plaintiff actual harm by diminishing his use of his cellular telephone, power and battery
10
     consumption, wear and tear caused to his cellular telephone, reduced battery charge life, and the
11
     per-kilowatt electricity costs required to recharge his cellular telephone as a result of increased
12
     usage of his telephone services.
13
             74.     Defendant’s phone harassment campaign and illegal collection activities have also
14

15   caused Plaintiff actual harm by causing him to become fearful or and aggravated unsolicited debt

16   collection calls.
17           75.     Defendant’s phone harassment campaign and illegal collection activities have also
18
     caused Plaintiff to suffer harassment, emotional distress, anxiety, loss of concentration and time-
19
     wasting of daily aspects of life. For example, Plaintiff has been required to answer Defendant’s
20
     unwanted phone calls during time with his children and during work hours.
21

22           COUNT I – VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT

23           76.     Plaintiff restates and realleges the above Paragraphs as though fully set forth herein.

24           77.     Defendant repeatedly placed or caused to be placed frequent non-emergency calls,
25   including but not limited to the calls referenced above, to Plaintiff’s cellular telephone number
26
     using an automatic telephone dialing system (“ATDS”) without Plaintiff’s prior consent in violation
27
     of 47 U.S.C. §227 (b)(1)(A)(iii).
28
                                                         7
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 1          78.        As discussed above, based on Defendant’s lack of prompt human response during
 2   the phone calls in which Plaintiff answered, Defendant used an ATDS to place calls to Plaintiff’s
 3
     cellular telephone.
 4
            79.        Upon information and belief, the ATDS employed by Defendant transfers the call
 5
     to a live agent once a human voice is detected, thus resulting in a pause after the called party speaks
 6

 7   into the phone.

 8          80.        Defendant violated the TCPA by placing numerous phone calls to Plaintiff’s cellular

 9   telephone between March 2017 and the present day, using an ATDS without his prior consent.
10
            81.        Any prior consent, if any, was revoked by Plaintiff’s verbal revocation.
11
            82.        As pled above, Plaintiff was severely harmed by Defendant’s collection calls to his
12
     cellular phone.
13
            83.        Upon information and belief, Defendant has no system in place to document and
14

15   archive whether it has consent to continue to contact consumers on their cellular phones.

16          84.        Defendant, through its agents, representatives, vendors subsidiaries, third party
17   contractors and/or employees acting within the scope of their authority acted intentionally in
18
     violation of 47 U.S.C. §227(b)(1)(A)(iii).
19
            85.        Pursuant to 47 U.S.C. §227(b)(3)(B), Defendant is liable to Plaintiff for a minimum
20
     of $500 per phone call.
21

22          86.        While Plaintiff believes that Defendant called him with an ATDS more than 34

23   times, at the very least, this Court should award Plaintiff $500 per offending call for a total of

24   $17,000.00.
25          87.        Moreover, pursuant to 47 U.S.C. §227(b)(3)(C), Defendant’s willful and knowing
26
     violations of the TCPA triggers this Honorable Court’s discretion to triple the damages to which
27
     Plaintiff is otherwise entitled to under 47 U.S.C. §227(b)(3)(C).
28
                                                         8
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 1           88.      While Plaintiff believes that Defendant called him with an ATDS more than 34
 2   times, this Court should award Plaintiff $1,500 per offending call for a total of $51,000.00 because
 3
     Defendant continued to call Plaintiff after he told Defendants account representatives to stop calling
 4
     him on numerous occasions.
 5
     WHEREFORE, Plaintiff GILBERT CASTILLO JR. respectfully requests that this Honorable
 6
     Court:
 7          a. Declare that the practices complained of herein are unlawful and violate the

 8                 aforementioned statute;
             b. Awarding Plaintiff damages of at least $500.00 per phone call and treble damages
 9
                   pursuant to 47 U.S.C. §§ 227(b)(3)(B)&(C);
10
             c. Enjoining Defendant from contacting Plaintiff; and
11
             d. Award any other relief as the Honorable Court deems just and proper.
12

13                                      DEMAND FOR JURY TRIAL
14
             Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury of any and all issues in
15
     this action so triable of right.
16

17
     Date: August 15, 2019                                        Respectfully submitted,
18

19

20                                                                 By: /s/ Nicholas M. Wajda
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